                                                                         Page 1 of 23
         Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 1 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 2 of 23
         Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 2 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 3 of 23
         Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 3 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 4 of 23
         Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 4 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 5 of 23
         Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 5 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 6 of 23
         Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 6 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 7 of 23
         Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 7 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 8 of 23
         Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 8 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 9 of 23
         Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 9 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 10 of 23
        Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 10 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 11 of 23
        Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 11 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 12 of 23
        Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 12 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 13 of 23
        Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 13 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 14 of 23
        Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 14 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 15 of 23
        Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 15 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 16 of 23
        Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 16 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 17 of 23
        Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 17 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 18 of 23
        Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 18 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 19 of 23
        Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 19 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 20 of 23
        Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 20 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 21 of 23
        Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 21 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 22 of 23
        Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 22 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 23 of 23
        Case 1:17-cv-08223-PKC Document 101-12 Filed 07/22/19 Page 23 of 23




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
